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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

 KAJEET, INC.,                                §
                                              §
        Plaintiff,                            §          CASE NO. 21-cv-5-MN
                                              §
 v.                                           §          JURY TRIAL DEMANDED
                                              §
 MCAFEE CORP.,                                §
                                              §
        Defendant.                            §


               FIRST AMENDED COMPLAINT AND JURY DEMAND

        Plaintiff KAJEET, INC. files this First Amended Complaint for Patent

 Infringement against Defendant MCAFEE CORP., alleging as follows:

 I.     THE PARTIES

        1.      KAJEET, INC. (“Plaintiff” or “Kajeet”) is a corporation organized and

 existing under the laws of the State of Delaware, with a principal place of business at

 7901 Jones Branch Drive, Suite 350, McLean, Virginia 22102.

        2.      Defendant MCAFEE CORP. (“Defendant” or “McAfee”) is a limited

 liability company organized under the laws of Delaware with a principal place of

 business at 6220 America Center Drive, San Jose, California 95002. McAfee has already

 appeared in this case and may be served through its counsel of record.

 II.    JURISDICTION AND VENUE

        3.      This is an action for infringement of United States patents under 35 U.S.C.

 §§ 271, et seq. Federal question jurisdiction is conferred to this Court over patent

 infringement actions under 28 U.S.C. §§ 1331 and 1338(a).

        4.      Defendant is incorporated within this District and develops and/or sells its

 products, including the Accused Products described herein, in this District.

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        5.      Defendant has sufficient minimum contacts with the District of Delaware

 such that this venue is fair and reasonable. Defendant has committed such purposeful

 acts and/or transactions in this District that it reasonably should know and expect that

 they could be hailed into this Court as a consequence of such activity. Defendant has

 transacted and, at the time of the filing of this Complaint, continues to transact business

 within the District of Delaware.

        6.      Further, upon information and belief, Defendant makes or sells products

 that are and have been used, offered for sale, sold, and/or purchased in the District of

 Delaware. Defendant directly and/or through its distribution network, places infringing

 products or systems within the stream of commerce, which stream is directed at this

 district, with the knowledge and/or understanding that those products will be sold and/or

 used in the District of Delaware.

        7.      For these reasons, personal jurisdiction exists, and venue is proper in this

 Court under 28 U.S.C. §§ 1391(b) and (c) and 28 U.S.C. § 1400(b), respectively.

 III.   BACKGROUND AND FACTS

        8.      Kajeet is the owner of all rights and title in and to U.S. Patent No.

 8,667,559 (“the ‘559 Patent” or “the Asserted Patent”). The inventions disclosed and

 claimed in the Asserted Patent were developed by the founders, entrepreneurs, and

 engineers of Kajeet and were assigned to Kajeet upon issuance.

        9.      Kajeet is a U.S.-based company, founded in 2003, which develops

 software and hardware solutions promoting safe use of mobile devices by children both at

 home and in schools and libraries. Kajeet was founded by three fathers who sought to




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 develop systems and methods ensuring safe use of mobile phones, tablets, computers, and

 other mobile devices by their children.

        10.     Kajeet has become an industry leader in this area of mobile device

 management, developing innovations that led to the issuance of thirty-eight U.S. patents

 to date, including the Asserted Patent, and having implemented its solutions in hundreds

 of school districts comprising thousands of schools across the nation. These innovations

 were directly developed by the founders and engineers at Kajeet as part of Kajeet’s

 continuous work to protect children from inappropriate and distracting online content,

 and to enable schools and families to keep children focused and safe from the many

 potential dangers associated with unconstrained access to online content.

        11.     The disclosure and claims of the Asserted Patent describe improved

 control schemes implemented on communication devices, focusing on applications in

 which it is undesirable for the user of the communication device to have unfettered or

 unconstrained access to some or all of the available functionality supported by the

 communication device.      See, e.g., the ‘559 Patent at 1:47-62.1      A typical scenario

 addressed by the Asserted Patent is that of a smartphone, tablet, or laptop used by a child.

 See, e.g., the ‘559 Patent at 4:11-18; 4:38-44; and, 5:20-29. This is a relatively new

 problem that has arisen in the past decade as mobile communication devices have

 become more popular and more widely used throughout society, including in schools and

 at home by children. See, e.g., the ‘559 Patent at 1:51-58; 2:10-21; 4:42-58; 6:34-409;

 12:48-62; and, 14:13-23.



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   All citations to the ‘559 Patent, which is attached hereto as Exhibit A, are illustrative
 rather than exhaustive and therefore do not comprise complete listings of all portions of
 the specification addressed to each topic for which citations are provided.
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        12.     Mobile smartphones appeared in the mid-1990s as Personal Digital

 Assistants (“PDAs”). These devices expanded the set of features accommodated by

 handheld mobile communication devices and their appearance coincided with the rise in

 popularity and use of the World Wide Web. In 2007, Apple released the first iPhone and

 in 2008 released the App Store. This signaled the beginning of mainstream smartphone

 ownership and usage and, in particular, ownership and usage of feature-rich smartphone

 devices by teens and children. Also, during this timeframe, other Internet-capable, mobile

 computing devices greatly expanded in popularity, including tablet devices, including

 iPads and Kindles, as well as laptop devices, including the Google Chromebook.

 Increasingly, these devices are put in the hands of teens and children both by their parents

 and by schools, giving them ready access which they never had before to inappropriate

 content, contacts, sexting, online gaming, among other undesirable features and

 functionality. Further, this new access is cheap, anonymous, and readily-available at any

 time, day or night from virtually anywhere. Parents, as well as school administrators and

 others, have struggled with addressing this newly created problem ever since.

        13.     The Asserted Patent is addressed to specific systems and methods for

 addressing this new problem faced by parents, teachers, business owners, and the like.

 The Asserted Patent recognizes that old-world methodologies, such as simply taking the

 devices away, do not truly address the problem at hand and undermine the safety benefit

 of device ownership – continuous access for communication, such as always providing a

 direct means for a parent to call its child or vice versa. For device ownership by teens

 and others to provide this benefit, the device is necessarily in the possession of the teen at

 times when he or she is away from parents, teachers, and the like. Old-world monitoring



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 of device use to preventing inappropriate use is therefore also ineffective and does not

 address the true context of this new problem in society created by the development and

 proliferation of feature-rich mobile communication devices.

        14.     As explained in the specification of the Asserted Patent, prior art systems

 and methods for controlling mobile communication device usage in such settings were

 ineffective. For example, prepaid phone plans placed limits on the charges that could be

 run up on a mobile communication device but did so through toggling access to the

 communication network off once the account reached a zero balance. Beforehand, access

 to the communication network may be unconstrained while after, no access is provided

 whatsoever. This control scheme was ineffective for preventing misuse of the mobile

 communication device by a child while still providing access to desirable features. See,

 e.g., the ‘559 Patent at 2:36-44.

        15.     Likewise, unlimited use smartphone service plans could prevent the

 accumulation of excessive usage costs but were ineffective to prevent overuse or use of a

 mobile communication device at inappropriate times or to access inappropriate content.

 See, e.g., the ‘559 Patent at 3:7-16.

        16.     Other solutions involving control through enforcement of decisions based

 upon policies defining permitted use that were set and stored only in accessible portions

 of the memory of the device itself, such as in the volatile memory of the device. These

 solutions were likewise ineffective as the policies upon which decisions effecting control

 were vulnerable to manipulation or deletion by virtue of their only being stored in

 accessible portions of memory of the computing device. Further, such solutions required




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 separate and independent configuration of each computing device to be controlled,

 resulting in increased administrative costs.

        17.     The ‘559 Patent states that the systems and methods disclosed therein “are

 effective tools for any phone user that requires some level of supervision, such as a

 handicapped individual, a person suffering from dementia, a corporate employee, or even

 an adult that has shown poor judgment in the past and needs help managing their affairs.”

 ‘559 Patent at 5:34-41. The ‘559 Patent also states that:

                The ability to regulate when a phone can be and cannot be used
        can also be of value to parents and school districts with respect to
        resolving one of the greatest conflicts that exist between parents/students
        and school administrators - mobile phone usage by kids. Parents want
        children to have a mobile phone with them so the child can call the
        parent if need be, i.e., if someone forgets to pick the child up after
        school. School districts do not want the children to have the phones at all
        because the students tend to misuse the phones, i.e., to call friends
        during school, to cheat, to engage in illegal activity, etc. While the
        school districts believe that children should be relegated to only using
        the school phones if the children need to contact a parent, the parents
        want the children to have the phones with them in case they get locked
        out of the school, get lost on a field trip, etc. ‘559 Patent at 12:48-62
        (emphasis added).

 The Asserted Patent therefore recognizes that it is advantageous to dispose the policies

 applied for effecting feature management over communication devices in accordance

 with a scheme that prevents access to them by the user of the device, who may have poor

 judgment or be motivated to otherwise misuse the communication device.

        18.     The specification the Asserted Patent discloses, among other innovations,

 systems and methods for providing access to desirable features, such as always allowing

 for calls to a parent, for example, while also preventing access to features deemed

 inappropriate because of cost (e.g., downloadable games or other applications), type of

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 content (e.g., gambling or pornographic content), the time of day or night (e.g., during

 school hours or after bed time), and/or the device’s location, among other criteria. See,

 e.g., the ‘559 Patent at 3:54-59; 4:11-18; 5:45-50; 13:8-28; and, Claims. The Asserted

 Patent discloses control embodiments applying decisions based upon policies defining

 acceptable and unacceptable uses of a mobile communication device. The policies may

 be based on a variety of contexts which are set by administrators (e.g., parents or

 teachers). In accordance with certain embodiments of the inventions disclosed, the

 policies are set and stored at the server level to provide simultaneous control over use of

 one or more mobile communication devices. See, e.g., the ‘559 Patent at embodiment of

 Fig. 2; 3:54-59; 4:11-18; 5:45-50; 13:8-28; and, Claims. The intrinsic record states this at

 Office Action Response dated October 17, 2013 filed during prosecution of the ‘559

 Patent at p. 10 (distinguishing a particular embodiment claimed therein on the basis that

 the prior art “does not describe a distributed architecture where policy decisions are

 performed at the server level and those policies are enforced on the phone

 itself.”)(emphasis added). A true and correct copy of this Office Action Response is

 attached hereto as Exhibit B and incorporated for all purposes.

        19.     Application of use decisions based upon a policy stored remote from the

 controlled computing device represented an unconventional scheme that was neither well

 known nor routine for addressing a newly emerging problem in society. Embodiments of

 the inventions disclosed and claimed in the Asserted Patent implementing this

 unconventional scheme provide for more robust control that was more resilient to

 manipulation and/or disablement by users of the controlled devices and, therefore, more

 effective than prior art systems and methods.



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        20.       McAfee is a developer of software-based solutions accommodating feature

 management of computing devices configured for operation on communication networks,

 including laptops, tablets, smartphones, and the like. Each of the devices managed by

 McAfee’s software comprises a computing device usable to access online content and

 applications over a communication network managed by a service provider, such as an

 internet service provider (ISP).

        21.       The Accused Products of McAfee include all versions of the McAfee Safe

 Family product (including the Safe Family app), as well as all versions of the Total

 Protection or McAfee Antivirus products that include the Safe Family product or similar

 functionality.    The   Accused    Products       accommodate   management    of   mobile

 communication devices accessing content over communication networks via application

 of remotely stored master policies set by administrators (e.g., parents).

        22.       The Accused Products comprise a system of hardware (McAfee servers)

 and software (McAfee server software and the Safe Family app) implementable on

 computing devices to accommodate management of certain features and functionality of

 computing devices. The Accused Products are compatible for use with communications

 devices utilizing iOS, Android, and Windows operating systems. Such devices include

 iPhones, iPads, Android phones, Android tablets, laptops, Chromebooks, and the like.

        23.       The Accused Products effect policy-based control over these devices via,

 among other things, executing local agent software (the McAfee Safe Family app) on the

 device in connection with execution of McAfee server software. Execution of local agent

 software effects control of the device via regular and/or scheduled sending of feature use

 requests to the McAfee servers for policy application. Additionally, or alternatively, the



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 local agent software effects control via regular installation and updates of use decisions

 based upon master policies stored on McAfee’s servers (or derivatives thereof) via

 communication with the McAfee servers for on-device enforcement.

           24.   Regardless of the mode of policy application employed, all master policies

 defining permissible or impermissible uses of a device are set by parents using the Safe

 Family app downloaded on a parent’s mobile device and when logged in as administrator.

 Parents may set policies to control their children’s time usage limits or application usage

 among other things. Different policies may be applied depending on the time-of-day in

 accordance with schedules or according to time usage limits.

           25.   Application of policies yields decisions defining what device features and

 network content are usable or accessible by a managed device. McAfee accommodates

 selectively permitting or blocking access to device features, such as Internet content,

 mobile applications, and the like based on application of allow/disallow policies, which

 may be further configured in accordance with schedule-based or time-based policies.

           26.   For each managed device, local agent software of the Accused Products is

 enabled on the device in the form the McAfee Safe Family app. Execution of the local

 agent software causes the managed device to generate or direct requests for uses of the

 device for comparison to applicable usage policies, or derivatives thereof, in connection

 with applying and enforcing master policies defining permissible uses of the managed

 device.

           27.   Upon information and belief, the Accused Products effect feature

 management over devices connected to a communication network without storing the

 master policies on the devices, themselves or accessing the policies by the device.



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  Rather, decisions based on the policies are communicated to or stored on the controlled

  device for enforcement, with such decisions regularly updated through execution of the

  McAfee Safe Family app locally and at McAfee’s servers.

         28.    Based on the description of the structure and operation of the Accused

  Products of McAfee presented above, each meets each and every limitation of claim 1 as

  shown in the following chart:

               Claim Element                                Accused Products
    A non-transitory computer readable       McAfee provides the Safe Family mobile
    storage medium comprising                application as a standalone product, as well as
    instructions that, when executed on a    an add-on to its Total Protection and McAfee
    computing device configured to           Antivirus products. When downloaded to a
    perform a function on a                  computing device for management thereof,
    communication network managed            Safe Family implements functionality
    by a service provider, cause the         allowing parents and/or other administrators
    computing device to at least:
                                             to effect policy-based control over computing
                                             devices.
                                             These Accused Products manage use of
                                             mobile devices, such as phones, tablets, and
                                             the like, which are connected to the Internet
                                             through an Internet Service Provider (ISP) or
                                             a cellular network via a phone service
                                             provider.
    send to a server a request to            When a user of the computing device attempts
    communicate with a remote                to use the device to communicate with
    computing device over the                another, local agent software on the controlled
    communication network;                   device (the Safe Family mobile application)
                                             cause it to formulate requests and route them
                                             to one or more McAfee servers to apply
                                             policies.


    receive in real-time from the server a   Following receipt of a request at a McAfee
    response indicative of a decision        server, the Accused Products provide
    granting or denying the request, the     instructions to the computing device to either
    decision being based on one or more      permit a requested use or block it, based upon
    policies that are stored at the server   application of applicable policies for that
    and based at least in part on input      device that are stored at a McAfee server.
    from an administrator; and               These policies are configured by a parent, or

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                                           other administrator, using a “parent device”
                                           accessing McAfee’s server(s) to set and store
                                           policies. As such, all policies upon which use
                                           decisions are based are stored at a McAfee
                                           server.

    enforce the response by enabling the   Based on the decision received from
    requested communication with the       McAfee’s server(s) applying the policy, the
    remote computing device over the       Accused Products operate to either permit or
    communication network when the         block the requested function. Permissible
    decision grants the request and by     requests are then executed by the computing
    disabling the requested                device while blocked requests result in a
    communication when the response        block screen or alert being shown on the
    denies the request, the requested      computing device.
    communication being enabled or
    disabled without accessing the one     The policy, or policies, set by an
    or more policies by the computing      administrator and upon which the decision is
    device.                                based are set and stored on McAfee’s servers
                                           and are inaccessible by managed computing
                                           device, itself, for modification.


         29.    Based on the description of the structure and operation of the Accused

  Products of McAfee presented above, each meets each and every limitation of claim 27

  as shown in the following chart:

               Claim Element                              Accused Products
    A method for controlling a             McAfee provides the Safe Family mobile
    computing device configured to         application as a standalone product, as well as
    execute a function using a             an add-on to its Total Protection and McAfee
    communication network managed          Antivirus products. Safe Family implements
    by a service provider, the method      functionality allowing parents and/or other
    comprising:                            administrators to effect policy-based control
                                           over computing devices. These Accused
                                           Products manage use of mobile devices, such
                                           as phones, tablets, and the like, which are
                                           connected to the Internet through an Internet
                                           Service Provider (ISP).
    sending to a server a request to       The Accused Products utilize local agent
    communicate with a remote              software on the controlled device (the Safe
    computing device over the              Family mobile application) to formulate and
    communication network;                 route requests through one or more McAfee
                                           servers to apply policies. McAfee servers

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                                                store and apply acceptable use policies,
                                                including screen time allowance, among
                                                others, which are set by administrators, to
                                                control device use. McAfee’s local agent
                                                software causes actions taken and content
                                                viewed on a managed device to be routed
                                                through one or more McAfee servers, which
                                                apply policies to determine if a requested use
                                                is permitted or not.

       receiving in real-time from the          Following receipt of a request at a McAfee
       server a decision granting or            server, the Accused Products provide
       denying the request, the decision        instructions to the computing device to either
       based on a policy stored at the server   permit a requested use or block it, based upon
       and configured by an administrator;      application of applicable policies for that
       and                                      device that are stored at a McAfee server.
                                                These policies are configured by a parent, or
                                                other administrator, using a “parent device”
                                                accessing McAfee’s server(s) to set and store
                                                policies. As such, all policies upon which use
                                                decisions are based are stored at a McAfee
                                                server.

       enforcing the decision by enabling a     Based on the decision received from
       communication with the remote            McAfee’s server(s) applying the policy, the
       computing device over the                Accused Products operate to either permit or
       communication network when the           block the requested function. Permissible
       decision grants the request and by       requests are then executed by the computing
       disabling the communication when         device while blocked requests result in a
       the decision denies the request, the     block screen or alert being shown on the
       communication being enabled or           computing device.
       disabled without storing the policy
       on the computing device.                 The policy, or policies, set by an
                                                administrator and upon which the decision is
                                                based are set and stored on McAfee’s servers
                                                rather than being set and stored on the
                                                managed computing device, itself.


           McAfee provides instructions to its customers and users of the Accused Products

  demonstrating how to install, set up, and use each to manage computing devices

  connected to a communications network. Such instructions are provided in the form of,

  at       least,     McAfee’s         online      support       site     at      the     URL:

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  https://support.mcafee.com/webcenter/portal/supportportal/pages_knowledgecenter.

  More specifically, McAfee provides several Safe Family “how to” articles instructing

  customers on how to install Safe Family, set up profiles, and add devices:

         https://service.mcafee.com/webcenter/portal/cp/home/faq?term=*&platform=mob

  ile&facet=install%2funinstall&mode=searchall&fsource=Knowledge+Base&_afrLoop=1

  43420526842217#!%40%40%3F_afrLoop%3D143420526842217%26centerWidth%3D1

  00%2525%26facet%3Dinstall%252Funinstall%26fsource%3DKnowledge%2BBase%26l

  eftWidth%3D0%2525%26mode%3Dsearchall%26notShowBreadcrumb%3Dtrue%26plat

  form%3Dmobile%26rightWidth%3D0%2525%26showFooter%3Dfalse%26showHeader

  %3Dfalse%26term%3D*%26_adf.ctrl-state%3D12iqijqqhx_167.                These   resources

  provide instructions and tutorials directed to end users of the Accused Products

  demonstrating use thereof in manners that infringe the Asserted Patent. Use of the

  Accused Products in accordance with these instructions constitutes direct infringement of

  the Asserted Patent by end users of the Accused Products.

         30.     McAfee has had actual knowledge of the Asserted Patent and Kajeet’s

  infringement allegations since at least January 4, 2021 the date the Original Complaint

  was filed. Upon information and belief, McAfee continues to make, use, and sell the

  Accused Products, including ongoing subscriptions, to its customers.

                                         COUNT I

                               PATENT INFRINGEMENT

                               U.S. Patent No. 8,667,559 B1

         31.     Kajeet repeats and re-alleges all preceding paragraphs of this First

  Amended Complaint, as though fully set forth herein.



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         32.     On March 4, 2014, United States Patent No. 8,667,559 B1 (“the ‘559

  Patent”) was duly and legally issued for “Feature Management of a Communication

  Device.” As of the filing of this Complaint, the ‘559 Patent remains in force. A true and

  correct copy of the ‘559 Patent is attached hereto as Exhibit A and made a part hereof.

         33.     Kajeet is the owner of all right and title in the ‘559 Patent, including all

  rights to enforce and prosecute action for infringement of the ‘559 Patent and to collect

  damages for all relevant times against infringers of the ‘559 Patent. Accordingly, Kajeet

  possesses the exclusive right and standing to prosecute the present action for

  infringement of the ‘559 Patent by McAfee.

         34.     Kajeet has complied with 35 U.S.C. § 287 with respect to the ‘559 patent.

  Kajeet virtually marks its products in accordance with the statute by listing the

  appropriate Kajeet patent numbers on a page on its website. Kajeet regularly updates this

  page   as    new   patents   issue.   That   page   can   be   accessed   at   the   URL:

  https://www.kajeet.net/company/patents-and-licensing. Kajeet is unaware of any credible

  challenge to its having complied with the marking provisions of 35 U.S.C. § 287.

         35.     The ‘559 Patent generally discloses and claims systems and methods for

  controlling computing devices usable on communication networks to perform various

  functions, such as sending and receiving data over the Internet or other communication

  network, for example. The systems and methods claimed accommodate enforcement of

  decisions granting or denying requests to communicate with remote computing devices

  over a communication network.. In accordance with the Asserted Claims, the decisions

  are based on the application of one or more relevant use policies which are be

  administrator-configurable and may be stored remotely from the controlled computing



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  device. Decisions to grant or deny communication requests from the controlled device

  may be made and effectuated in real-time.

         36.     Independent claim 27 of the ‘559 Patent and each dependent claim

  depending therefrom are directed to “methods for controlling a computing device

  configured to execute a function using a communication network managed by a service

  provider.” ‘559 Patent at Claim 27. These claimed methods require, among other steps,

  that a decision is received in real time from a server, with the decision

  “being based on a policy stored at the server…,” and that “the communication being

  enabled or disabled without storing the policy on the computing device.” Id.

         37.     These limitations mandate that the decision applied to effect control over

  the computing device is based on a policy stored at a server remote from the computing

  device. The decision is made upon detection of an attempt by the computing device to

  perform a function on the communication network.            These limitations capture the

  distributed architecture concept not well-understood, routine, or conventional in the art

  for effecting feature management on a computing device including that the server storing

  the policies upon which decisions are based being meaningfully apart from the computing

  device. This arrangement resulted in improved operation through at least increased

  resilience to undesirable access to policies to manipulate or delete them.

         38.     These limitations additionally cover communications initiated by a third-

  party device and directed to a managed device. Effecting control over these incoming

  communications to a communication device was likewise not well-understood, routine, or

  conventional to one of ordinary skill in the art.




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         39.     Claim 27 of the ‘559 Patent and each claim depending therefrom are

  rooted in control schemes for managing communication devices and require the

  application of decisions based upon remotely stored polices. Remote storage of the

  policies upon which decisions are based makes them less vulnerable to manipulation and

  deletion while still accommodating real-time control concurrent with device usage.

  Communication device management in accordance with these claimed methods improves

  the security, effectiveness, and robustness of control accommodated.         As such, the

  claimed methods are directed to patent eligible subject matter.

         40.     Additionally, when considered as an ordered combination of elements,

  claim 27 and each claim depending therefrom comprise an “inventive concept” for at

  least the reasons presented herein and above. These claims require storing usage policies

  upon which decisions are based at a server remote from the computing device, an

  unconventional arrangement at the time which yielded improvements in the operation of

  systems implementing the claimed methods. Prior art control was not premised on

  application of decisions based upon policies stored at the server level. Instead, the prior

  art applied decisions based on policies set up on the computing device itself and stored

  only on the computing device. Such policies reside such that they are readily accessible

  for manipulation and/or deactivation or deletion to circumvent control entirely. Further,

  prior art systems required that each device be configured separately and individually with

  its own set of policies. The arrangement claimed in claim 27 and its dependent claims

  run counter to what was well-understood, routine, and conventional to one of ordinary

  skill in the art at the relevant time by applying usage decisions to effect control that are

  based upon policies stored at the server level, remote form the computing device, while



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  effecting real-time control over communication devices and providing other benefits, as

  noted herein and above.2

         41.     Additionally, claim 1 of the ‘559 Patent, and correspondingly the

  dependent claims thereof, are directed to similarly configured systems and methods for

  effecting remote management of communications devices. These claims implement a

  distributed architecture approach with master policies applied to effect control of a device

  being stored remotely from the managed devices.

         42.     McAfee has had actual knowledge of the existence of the ‘559 Patent

  since at least January 4, 2021, the date of the filing of the Original Complaint. As such,

  McAfee’s infringement of the ‘559 Patent has been willful since at least that time.

         43.     McAfee, without authority, consent, right, or license, and in direct

  infringement of the ‘559 Patent uses the Accused Products which infringe at least claims

  1 and 27 of the ‘559 Patent, among others, and it uses the Accused Products in a manner

  that meets every limitation of claims 1 and 27.            McAfee’s quality testing and

  demonstrations of operation of the Accused Products to manage use of computing

  devices directly infringe, either literally or under the doctrine of equivalents, at least

  claims 1and 27 of the ‘559 Patent.

         44.     McAfee actively induces infringement of one or more of the claims of the

  ‘559 Patent by its customers and end users of at least the Accused Products and is

  therefore liable for indirect infringement under 35 U.S.C. § 271(b). A customer’s use of

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    These statements are further supported by the declarations of Dr. Charles D. Knutson,
  which were attached by Kajeet as Exhibits E and I to its Second Amended Complaint
  (Dkt. Nos. 146, 146-6, and 146-10). filed in the action styled Kajeet, Inc. v. Qustodio,
  LLC, case no. 8:18-cv-01519-JAK-PLA, in the United States District Court for the
  Central District of California, Western Division, and which are hereby incorporated by
  reference.

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  the Accused Products to manage computing devices in the manners described above

  infringes at least claims 1 and 27 of the ‘559 Patent. McAfee knows that the Accused

  Products are especially designed for and marketed toward infringing use by McAfee’s

  customers, to implement feature management of computing devices.                McAfee has

  induced, caused, urged, encouraged, aided and abetted its direct and indirect customers to

  make, use, sell, offer for sale and/or import one or more of the Accused Products.

  McAfee provides step-by-step instructions for installation, setup, and use of the Accused

  Products to infringe, either literally or under the doctrine of equivalents, at least claims 1

  and 27 of the ‘559 Patent. These instructions are provided by McAfee as user manuals

  and online content made available by McAfee through its website, including the

  SafeFamily “how to” videos described above. As such, McAfee provides step by step

  instructions to on how to install and set up the Accused Products to operate as described

  in the charts above. McAfee likewise provides customers with information about the

  types of policies that can be set by a parent and how they are set. Such conduct by

  McAfee was intended to and actually did result in direct infringement by McAfee’s direct

  and indirect customers, including the making, using, selling, offering for sale and/or

  importation of the Accused Products in the United States. McAfee knows that its

  customers are infringing because it operates the servers that store the policies and

  communicate with the managed devices.

         45.     McAfee contributes to the infringement of at least claims 1 and 27 of the

  ‘559 Patent by its customers and end users of at least the Accused Products and is

  therefore liable for indirect infringement under 35 U.S.C. § 271(c).           The Accused

  Products are especially designed for controlling use of computing devices in the manner



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  described above. As shown in the charts above, the components in the Accused Products

  that provide the infringing features have no other purpose than to operate in an infringing

  manner. Consequently, the Accused Products have no substantial non-infringing use, as

  they are specifically designed and marketed for use by parents, teachers, and supervisors

  to control use of a computing device operating on a communication network. Setup and

  use of the Accused Products by McAfee’s customers in the manner constitutes direct

  infringement, either literally or under the doctrine of equivalents, of at least claims 1 and

  27 of the ‘559 Patent. McAfee knows that its customers are infringing because it operates

  the servers that store the policies and communicate with the managed devices.



         46.     Kajeet expressly reserves the right to assert additional claims of the ‘559

  Patent against McAfee.

         47.     Kajeet has been damaged as a result of McAfee’s infringing conduct.

  McAfee is, thus, liable to Kajeet in an amount that adequately compensates for their

  infringement, which, by law, cannot be less than a reasonable royalty, together with

  interest and costs as fixed by this Court under 35 U.S.C. § 284.

         48.     Based on McAfee’s actual knowledge of the ‘559 Patent and of Kajeet’s

  allegations of patent infringement presented herein since at least January 4, 2021, the date

  of the filing of the Original Complaint, if not earlier, as well as McAfee’s objective

  recklessness in continuing to offer for sale and selling the Accused Products since that

  time, Kajeet is further entitled to enhanced damages under 35 U.S.C. § 284.




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                                      VI. JURY DEMAND

         49.     Plaintiff hereby requests a trial by jury pursuant to Rule 38 of the Federal

  Rules of Civil Procedure.

                               VII.    PRAYER FOR RELIEF

         WHEREFORE, Plaintiff respectfully requests that the Court find in its favor and

  against Defendant, and that the Court grant Plaintiff the following relief:

         a.      Judgment that one or more claims of the Asserted Patent have been

                 directly infringed, either literally or under the doctrine of equivalents, by

                 Defendant, or judgment that one or more of the claims of the Asserted

                 Patent have been directly infringed by others and indirectly infringed by

                 Defendant, to the extent Defendant contributed to or induced such direct

                 infringement by others;

         b.      Judgment that Defendant account for and pay to Plaintiff all damages to

                 and costs incurred by Plaintiff because of Defendant’s infringing activities

                 and other conduct complained of herein, including enhanced damages as

                 permitted by 35 U.S.C. § 284;

         c.      Judgement that Defendant’s infringement is willful from the time

                 Defendant was made aware of the infringing nature of its products and

                 methods and that the Court award treble damages for the period of such

                 willful infringement pursuant to 35 U.S.C. § 284;

         d.      That Plaintiff be granted pre-judgment and post-judgment interest on the

                 damages caused by Defendant’s infringing activities and other conduct

                 complained of herein;



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         d.     That the Court declare this an exceptional case and award Plaintiff its

                reasonable attorney’s fees and costs in accordance with 35 U.S.C. § 285;

                and

         e.     That Defendant, its officers, agents, servants and employees, and those

                persons in active concert and participation with any of them, be

                permanently enjoined from infringement of one or more claims of the

                Asserted Patent or, in the alternative, if the Court finds that an injunction

                is not warranted, Plaintiff requests an award of post judgment royalty to

                compensate for future infringement;

         g.     That Plaintiff be granted such other and further relief as the Court may

                deem just and proper under the circumstances.




  Dated: April 12, 2021                        Respectfully submitted,

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